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                             UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                        Case No. 2:22-CV-1730
    ALISA GRISHMAN,

                   Plaintiff,
                                                        COMPLAINT FOR DECLARATORY
          v.                                            AND INJUNCTIVE RELIEF

    OLIVER HOTEL, L.L.C., d/b/a EMBASSY
    SUITES BY HILTON

                   Defendant.




         Plaintiff Alisa Grishman (“Plaintiff”), by and through her undersigned counsel, brings this

action against Oliver Hotel, L.L.C. d/b/a Embassy Suites by Hilton (“OH” or “Defendant”) and

alleges as follows:

                                         INTRODUCTION

         1.       For almost 30 years, the Americans with Disabilities Act (“ADA”) has required

that individuals with disabilities be provided full and equal access to the goods, services and

facilities provided by hotel owners and operators.

         2.       This mandate requires hotel businesses to provide patrons with accommodations

that are readily accessible to individuals with disabilities.

         3.       According to the 2019 J.D. Power North America Hotel Guest Satisfaction Index

Study, the quality of sleep is the top variable determining guest satisfaction during a hotel stay. 1




1
 Available at https://www.jdpower.com/business/press-releases/2019-north-america-hotel-guest-
satisfaction-index-nagsi-study (Last accessed December 5, 2022).


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       4.         However, many hotel operators, including Defendant, do not offer sleeping beds

that are accessible to hotel patrons with disabilities. This is a fundamental violation of the general

accessibility mandate of the ADA:

       No individual shall be discriminated against on the basis of disability in the full and
       equal enjoyment of the goods, services, facilities, privileges, advantages, or
       accommodations of any place of public accommodation by any person who owns,
       leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).

       5.         OH owns, manages, and/or operates the Embassy Suites located at 535 Smithfield

Street, Pittsburgh, PA 15222 (the “Subject Property”).

       6.         In failing to provide guest rooms with accessible beds, Defendant has engaged in

illegal discrimination, excluded and deterred individuals with disabilities from patronizing

Defendant’s hotel, and denied individuals with disabilities full and equal access to the goods,

services, facilities, privileges, advantages and accommodations that Defendant offers to the public.

       7.         Defendant’s discrimination violated and continues to violate Title III of the ADA,

and unless Defendant is required to change its policies and practices so that Defendant’s goods,

services, facilities, privileges, advantages, and accommodations are accessible to individuals with

disabilities, Plaintiff will continue to be denied full and equal access to Defendant’s hotel and will

be deterred from using Defendant’s hotel.

       8.         In accordance with 42 U.S.C. § 12188(a)(2), Plaintiff seeks a permanent injunction

requiring that:

                  a)     Defendant offer the required number of rooms with accessible beds at the
                         Subject Hotel, consistent with the ADA’s room dispersal requirements; and

                  b)     Defendant change its policies and practices necessary to afford all offered
                         goods, services, facilities, privileges, advantages and accommodation to
                         individuals with disabilities related to the provision of accessible beds.




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                   THE ADA AND ACCESSIBLE TRANSIENT LODGING

        9.      The ADA was signed into law by President George H.W. Bush nearly thirty years

ago with the intent to “provide a clear and comprehensive national mandate for the elimination of

discrimination against individuals with disabilities.” 42 U.S.C. § 12101(b)(1).

        10.     When the ADA’s implementing regulations were revised in 2010, a regulatory

impact analysis found that “[s]ome of the most frequently cited qualitative benefits of increased

access are the increase in one’s personal sense of dignity that arises from increased access and the

decrease in possibly humiliating incidents due to accessibility barriers. Struggling [to use a non-

accessible facility] negatively affect[s] a person’s sense of independence and can lead to

humiliating accidents, derisive comments, or embarrassment. These humiliations, together with

feelings of being stigmatized as different or inferior from being relegated to use other, less

comfortable or pleasant elements of a facility . . . all have a negative impact on persons with

disabilities.” Final Regulatory Impact Analysis of the Final Revised Regulations Implementing

Titles II and III of the ADA, Including Revised ADA Standards for Accessible Design, U.S. Dep’t

Just. (July 3, 2010), p. 138. 2

        11.     Title III of the ADA requires that “[n]o individual shall be discriminated against on

the basis of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

        12.     Discrimination on the basis of disability can occur, generally, through a denial of

the opportunity to participate in or benefit from goods, services, facilities, privileges, advantages,




2
 Available at https://www.ada.gov/law-and-regs/title-ii-2010-regulations/ (Last accessed
December 5, 2022).


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or accommodations (42 U.S.C. § 12182(b)(1)(A)(i)); from affording goods, services, facilities,

privileges, advantages, or accommodations that are not equal to those afforded to other individuals

(42 U.S.C. § 12182(b)(1)(A)(ii)); from providing goods, services, facilities, privileges, advantages,

or accommodations that are separate from those provided to other individuals (42 U.S.C.

§ 12182(b)(1)(A)(iii)); or from utilizing methods of administration that have the effect of

discriminating on the basis of a disability (42 U.S.C. § 12182(b)(1)(D)).

       13.     The ADA and its implementing regulations also define prohibited discrimination

to include the following: (i) the failure to remove architectural barriers when such removal is

readily achievable for places of public accommodation that existed prior to January 26, 1992 (28

C.F.R. § 36.304(a) and 42 U.S.C. § 12182(b)(2)(A)(iv)); (ii) the failure to design and construct

places of public accommodation for first occupancy after January 26, 1993, that are readily

accessible to and usable by individuals with disabilities (28 C.F.R. § 36.401 and 42 U.S.C.

§ 12183(a)(1)); and (iii) for alterations to public accommodations made after January 26, 1992,

the failure to make alterations so that the altered portions of the public accommodation are readily

accessible to and usable by individuals with disabilities (28 C.F.R. § 36.402 and 42 U.S.C.

§ 12183(a)(2)).

       14.     The Department of Justice, pursuant to 42 U.S.C. § 12186(b), has promulgated the

ADA Accessibility Guidelines (“ADAAG”) in implementing Title III of the ADA. There are two

active ADAAGs that set forth the technical requirements that a public accommodation must meet

in order to be “readily accessible”: the 1991 ADAAG Standards, 28 C.F.R. § pt. 36, App. D (“1991

Standards”), and the 2010 ADAAG Standards, 36 C.F.R. § pt. 1191, App. D (“2010 Standards”).

       15.     Both the 1991 Standards and the 2010 Standards require places of transient lodging,

such as hotels, to provide a certain number of accessible sleeping rooms and suites, determined on




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a sliding scale based on the total number of guest rooms offered. 1991 Standards §§ 9.1.2-3; 2010

Standards §§ 224.2-4.

          16.      The number of accessible guest rooms required is as follows:


         Total         Minimum              Minimum               Minimum              Minimum
      Number of        Number of            Number of             Number of            Number of
        Guest           Required             Required          Required Rooms       Required Rooms
        Rooms          Accessible           Accessible               with                 with
       Provided      Rooms Without         Rooms with           Communication        Communication
                     Roll-in Showers      Roll-in Showers          Features             Features
                                                               (2010 Standards)     (1991 Standards)

       1 to 25               1                    0                   23                    1

       26 to 50              2                    0                    4                    2

       51 to 75              3                    1                    7                    3

      76 to 100              4                    1                    9                    4

      101 to 150             5                    2                   12                    5

      151 to 200             6                    2                   14                    6

      201 to 300             7                    3                   17                    7

      301 to 400             8                    4                   20                    8

      401 to 500             9                    4                   22                    9

    501 to 1000      2 percent of total   1 percent of total   5 percent of total   2 percent of total

      1001 and         20, plus 1 for       10, plus 1 for      50, plus 3 for       20, plus 1 for
        over           each 100, or         each 100, or        each 100 over        each 100 over
                     fraction thereof,    fraction thereof,         1000                 1000
                        over 1000            over 1000

Id.




3
 The 2010 Standards uses a range of Total Number of Guest Rooms Provided of “2 to 25” for
communication feature requirements, versus the 1991 Standards’ “1 to 25”.


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       17.     In addition to requiring the provision of accessible rooms, the ADA requires hotels

to offer accessible guest rooms with an equivalent range of options and amenities that are offered

in guest rooms available to individuals without disabilities.

       18.     The 1991 Standards require accessible rooms to “be dispersed among the various

classes of sleeping accommodations available to patrons of the place of transient lodging. Factors

to be considered include room size, cost, amenities provided, and the number of beds provided.”

1991 Standards § 9.1.4(1).

       19.     The 2010 Standards are substantially similar, and require that accessible rooms

“shall be dispersed among the various classes of guest rooms, and shall provide choices of types

of guest rooms, number of beds, and other amenities comparable to the choices provided to other

guests. Where the minimum number of guest rooms required to comply with Section 806 of the

2010 Standards is not sufficient to allow for complete dispersion, guest rooms shall be dispersed

in the following priority: guest room type, number of beds, and amenities. At least one guest room

required to provide mobility features with 806.2 shall also provide communication features

complying with 806.3. Not more than 10 percent of guest rooms required to provide mobility

features complying with 806.2 shall be used to satisfy the minimum number of guest rooms

required to provide communication features complying with 806.3.” 2010 Standards § 224.5.

       20.     The Advisory to Section 224.5 states that “[f]actors to be considered in providing

an equivalent range of options may include, but are not limited to, room size, bed size, cost, view,

bathroom fixtures such as hot tubs and spas, smoking and nonsmoking, and the number of rooms

provided.”

       21.     The Department of Justice explained in its Guidance on the 2010 Standards that the

“dispersion requirement is intended to effectuate Congress’ directive that a percentage of each




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class of hotel rooms is to be fully accessible to persons with disabilities. See H.R. Rep. No. 101-

485 (II) at 391. Accordingly, the promise of the ADA in this instance is that persons with

disabilities will have an equal opportunity to benefit from the various options available to hotel

guests without disabilities, from single occupancy guest rooms with limited features (and

accompanying limited price tags) to luxury suites with lavish features and choices.”

       22.     The ADA requires reasonable modifications in policies, practices, or procedures

when necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

individuals with disabilities, unless the public accommodation can demonstrate that making such

modifications would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).

       23.     The remedies and procedures set forth at 42 U.S.C. § 2000a-3(a) are provided to

any person who is being subjected to discrimination on the basis of disability or who has reasonable

grounds for believing that such person is about to be subjected to discrimination in violation of

42 U.S.C. § 12183. 42 U.S.C. 12188(a)(1).

       24.     Aside from the 1991 and 2010 Standards, “[w]here the Department has not issued

specific design or technical standards, public accommodations’ actions are governed by the ADA’s

general nondiscrimination requirements and the ADA’s overarching equal access mandate. These

requirements include the obligation to make reasonable modifications where necessary to provide

people with disabilities access to the public accommodation’s goods and services.” 4




4
  See Statement of Interest of the United States of America, Migyanko v. Aimbridge Hospitality,
LLC, 2:20-cv-10195 (ECF 57), attached hereto as Exhibit A. The attached Statement of Interest
contains a more thorough discussion of how the United States views Defendant’s obligation to
provide accessible beds. See also Mullen v. Concord Hosp. Enterprises Co., LLC, No. 2:20-CV-
01530-RJC, 2022 WL 295880 (W.D. Pa. Feb. 1, 2022); Migyanko v. Aimbridge Hosp., LLC,
No. 2:20-CV-1095-NR, 2022 WL 345058 (W.D. Pa. Feb. 4, 2022); Eyler v. Garrison Pittsburgh
Monroeville Opco LLC, No. CV 21-1058, 2022 WL 1032732 (W.D. Pa. Apr. 6, 2022); and Eyler
v. Liza Luv Invs. III LLC, No. 2:21-CV-01050-CRE, 2022 WL 2829823 (W.D. Pa. July 20, 2022).


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        25.     Consistent with the regulatory guidance discussed above, Defendant must not only

offer accessible guest rooms that include accessible beds, but Defendant must also offer rooms

with accessible beds, at an accessible height, that are dispersed among all of its room categories.

                                  JURISDICTION AND VENUE

        26.     The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

        27.     Personal jurisdiction exists because Defendant owns, manages, and/or operates a

hotel located in Allegheny County, Pennsylvania.

        28.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claims

occurred.

                                              PARTIES

        29.     Plaintiff at all times relevant hereto, is and was a resident of Allegheny County,

Pennsylvania.

        30.     Plaintiff is a wheelchair user who is limited in the major life activity of walking and

is a member of the protected class under the ADA.

        31.     Defendant Oliver Hotel, L.L.C. is a Pennsylvania Limited Liability Company.

                                   FACTUAL ALLEGATIONS

        32.     Defendant owns, manages, and/or operates the Subject Property.

        33.     As a fundamental part of its ownership and/or operation of the Subject Property,

Defendant provides hotel rooms with sleeping beds to its customers.

        34.     In November 2022, Plaintiff communicated with front desk personnel at the Subject

Property and inquired about the height of the top surfaces of the beds in purportedly accessible




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rooms. She was told that top surface of the beds in the accessible rooms was 26.5 inches above the

floor.

         35.   The seat height for Plaintiff’s wheelchair is approximately 19 inches from the

ground, and the average height of wheelchair seats generally is 18-20 inches.

         36.   The high sleeping surface of the bed in Defendant’s purportedly accessible room

renders it difficult if not impossible for Plaintiff to independently transfer from her wheelchair to

the bed.

         37.   Plaintiff can safely, easily, and independently transfer to horizontal surfaces that

are approximately the same height as her wheelchair seat, such as dining chairs, toilet seats,

benches, and lower passenger vehicle seats.

         38.   Transferring to horizontal surfaces that are significantly higher than her wheelchair

seat is difficult and dangerous for Plaintiff; she must hoist her bodyweight up to the height of the

higher surface using primarily upper body strength, or be helped by a third party.

         39.   Plaintiff risks injury due to falling or straining her shoulders when transferring to

higher horizontal surfaces, such as the beds in the purportedly accessible rooms in the Subject

Property.

         40.   Defendant’s policy and practice of not providing individuals with disabilities hotel

rooms with accessible beds is discriminatory and in violation of the ADA.

         41.   Plaintiff would like the option of staying at the Subject Property in the future with

the ability to safely and independently use the hotel’s sleeping beds.

         42.   However, the lack of accessible sleeping beds has deterred Plaintiff from staying at

the Subject Property.




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       43.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s policy and practice of failing to provide accessible sleeping beds in its purportedly

accessible rooms to persons with disabilities.

                                     CAUSE OF ACTION
                          For Violations of 42 U.S.C. §§ 12181, et seq.

       44.     Plaintiff incorporates by reference each and every allegation herein.

       45.     Plaintiff is an individual with a disability under the ADA. 42 U.S.C. § 12102(1)(A).

       46.     Defendant provides public accommodations under the ADA. 42 U.S.C. § 12181(7).

       47.     Title III of the ADA prohibits discrimination against individuals with disabilities in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or

accommodations of any place of public accommodation by any person who owns, leases (or leases

to), or operates a place of public accommodation. 42 U.S.C. § 12182(a).

       48.     Defendant owns, manages, and/or operates a hotel, or “place of lodging,” that is a

place of public accommodation under Title III of the ADA. 42 U.S.C. § 12181(7).

       49.     Defendant has engaged in illegal disability discrimination by, without limitation,

failing to ensure that the beds or sleeping surfaces in use in the purportedly accessible rooms at

the hotel it owns, manages and/or operates are readily accessible to and usable by individuals with

disabilities, including individuals who use wheelchairs.

       50.     Moreover, by failing to provide accessible beds or sleeping surfaces, Defendant has

engaged, directly, or through contractual, licensing, or other arrangements, in illegal disability

discrimination, as defined by Title III, including without limitation:

               a)      denying individuals with mobility disabilities opportunities to participate in

and benefit from the goods, services and facilities available at the Subject Property;




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                 b)       affording individuals with mobility disabilities unequal access to goods,

services or facilities;

                 c)       utilizing methods of administration that (i) have the effect of discriminating

on the basis of disability; or (ii) perpetuating the discrimination of others who are subject to

common administrative control; and

                 d)       failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford services, privileges, advantages, or accommodations to

individuals with mobility disabilities.

        51.      Defendant’s ongoing and continuing violations of Title III have caused, and in the

absence to an injunction will continue to cause, harm to the Plaintiff.

        52.      Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests judgment as follows:

        a.       A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, in that Defendant failed to take action reasonably calculated

to ensure that Defendant’s beds or sleeping surfaces were fully accessible to, and independently

usable by, individuals with visual disabilities;

        b.       A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its beds and sleeping

surfaces into full compliance with the requirements set forth in the ADA, and its implementing

regulations, so that those beds and sleeping surfaces are fully accessible to, and independently




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usable by, individuals with disabilities, and which further directs that the Court shall retain

jurisdiction for a period to be determined to ensure that Defendant has adopted and is following

an institutional policy that will in fact cause Defendant to remain fully in compliance with the law;

       c.       Payment of nominal damages, as permitted by the Supreme Court in Uzuegbunam

v. Preczewski, 141 S.Ct, 792, 799-802 (2021) (“They [nominal damages] are instead the damages

awarded by default until the plaintiff establishes entitlement to some other form of damages, such

as compensatory or statutory.”);

       d.       Payment of costs and reasonable attorneys’ fees as provided for by law; and

       e.       Such other additional or alternative relief as the Court finds just and proper.



 Dated: December 5, 2022                            Respectfully submitted,

                                                    /s/ R. Bruce Carlson
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